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UNITED STATES DISTRICT COURT § §§§§
FOR THE § § 4 § t
DISTRICT 0F CoLUMBIA 3 § L:‘;§;;J§§ §

 

Civil Action No. 1:17-cv-00793-CK721>~RDM

Eugene Martin LaVergne, et als., Honorable Cornelia T. L. Pillard, C.J.
(Presiding)

Plaintiffs, Honorable Colleen Kollar-Kotelly, U.S.D.J.
Honorable Randolph D. Moss, U.S.D.J.

US.

United States House of
Representatives, et als.,

Defendants, Civil Action:
and

Mike Pence, Vice President of the
United States and President of the

United States Senate, et als.,

Interested Parties.

 

 

 

NOTICE OF DIRECT APPEAL TO THE UNITED STATES SUPREME
COURT FROM THIS THREE-JUDGE DISTRICT COURT’S DENIAL OF
PLAINTIFF’S APPLICATION FOR PERMANT INJUNCTIVE RELIEF
(28 U.S.C. §1253)

 

PLEASE TAKE NOTICE pursuant to Rule 18 of the United States Supreme
Court Rules that Plaintiff Eugene Martin LaVergne hereby directly appeals to the
United States Supreme Court Seeking review of this Three Judge District-Court’e

Order dated June 6, 2018 [Document 124] DENYING Plaintiff’s Motion

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[Document 123] seeking Summary Judgment and Permanent Injunctive Relief on
an Expedited Basis; and

PLEASE TAKE FURTHER NOTICE that this direct Appeal is taken
pursuant to the authority of 28 U.S.C. §1253 Which provides for the immediate and
direct appeal to the United States Supreme Court from any Three-Judge District

Court Order denying an application for permanent injunctive relief.

WY/M

/

.'Euge/n"'v NIa/rtin LaVergne

543 C dar Avenue

' Long Branch, New Jersey 07764
Te ephone: (732) 515-8229

Email: emlesqni@hotmail.com
Plaintiff Pro Se

 

Dated: June 11, 2018

Case 1:17-CV-OO793-CKK-CP-RDI\/| Document 126 Filed 06/11/18 Page 3 of 9

UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

 

Civil Action No. 1:17-cV-00793-CKK-CP-RDM

Eugene Martin LaVergne, et als., Honorable Cornelia T. L. Pillard, C.J.
(Presiding)

Plaintiffs, Honorable Colleen Kollar-Kotelly, U.S.D.J.
Honorable Randolph D. Moss, U.S.D.J.

US.

United States House of
Representatives, et als.,

Defendants, Civil Action:
and

Mike Pence, Vice President of the
United States and President of the

United States Senate, et als.,

Interested Parties.

 

 

 

28 U.S.C. §1746 DECLARATION AND Rule 29(5)(0) PROOF OF SERVICE OF
NOTICE ()F APPEAL ON ALL PARTIES

 

EUGENE MARTIN LaVERGNE hereby swears, certifies and declares

pursuant to 28 U.S.C. §1746 and United States Supreme Court Rule 29(5)(€) as

follows:

Case 1:17-cV-OO793-CKK-CP-RDI\/| Document 126 Filed 06/11/18 Page 4 of 9

I am the first named Plaintiff in the above matter and as such 1 am familiar

With all facts relevant to this case.

By Order dated June 6, 2018 [Document 124] the full Three-Judge District
Court convened to hear this matter entered an Order and DENIED my l\/Iotion
[Document 123] seeking Summary Judgment and Permanent Injunctive

Relief on an Expedited Basis.

As such, I have this day filed with the Clerk of the District Court a Notice of
Appeal pursuant to the authority of 28 U.S.C. §1253 Which provides for the
immediate and direct appeal to the United States Supreme Court from any
Three-Judge District Court Order denying an application for permanent

injunctive relief.

As per the requirements of United States Supreme Court Rule 29(5)(0), l
certify that all parties have been served with a true copy of the Notice of Appeal
and this separate Proof of Service in the manner as indicated as to each party

below in bold and underlined italics above each name:

Via Hand Delive;;y:
Angela Cesare, Clerk of the Court

United States District Court
for the District of Columbia
United States Courthouse

333 Constitution Avenue, N.W.
Washington, D.C. 20001

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Via Hand Delivery of courtesy copy to the District Court Clerk’s 0ffice
and electronically through PACER® once “Filed” by the District Court
Clerk:

Honorable Cornelia T.L. Pillard, C.J. (Presiding)

United States Court of Appeals

For the District of Columbia Circuit

United States Courthouse

333 Constitution Avenue, N.W.

Washington, D.C. 20001

Via Hand Delivery of courtesy copy to the District Court Clerk’s office
and electronically through PACER® once “Filed” by the District Court
Clerk:

Honorable Colleen Kollar-Kotelly, U.S.D.J.

United States District Court

for the District of Columbia

United States Courthouse

333 Constitution Avenue, N.W.

Washington, D.C. 20001

Via Hand Delivery of courtesy copy to the District Court Clerk’s Office
and electronically through PACER® once “Filed” by the District Court
Clerk:

Honorable Randolph Moss, U.S.D.J.

United States District Court

for the District of Columbia

United States Courthouse

333 Constitution Avenue, N.W.

Washington, D.C. 20001

Via Regular U.S. Mail:
Frederick John LaVergne
312 Walnut Street

Delanco, New Jersey 0807 5
Plaintiff Pro Se

Case 1:17-cV-OO793-CKK-CP-RDI\/| Document 126 Filed 06/11/18 Page 6 of 9

Via Regular U.S. Mail:
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303 Spinnaker Way
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Via Regular U.S. Mail:

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Toms River, New Jersey 08757
Plaintiff Pro Se

Via Regular U.S. Mail:
Allen J. Cannon

7 Brookside Drive

Titusville, NeW Jersey 08560
Plaintiff Pro Se

Via Regular U.S. Mail and electronically through PACER® once
“Filed” by the District Court Clerk:
Scott Stafne, Esq.
Sara S. Hemphill, Esq.
STAFNE LAW ADVOCY AND CONSULTING
239 North Olympic Avenue
Arlington, Washington, 98223
and
Alexander Penley, Esq.
GLOBAL PENLEY LAW
4111 Crittenden Street
Hyattsville, Maryland 207 81
Attornev for Proposed Intervenors (Motion Pending;since December 2017 ):
Citizens for Fair Representation
Mark Baird
Steven Baird
Win Carpenter
Tanya Nemcik
Terry Rapoza

Case 1:17-cv-OO793-CKK-CP-RDI\/| Document 126 Filed 06/11/18 Page 7 of 9

Via Regular U.S. Mail and electronically through PACER® once

“Filed” by the District Court Clerk:

Johnny H. Walker

Assistant United States Attorney

555 431 Street N.W.

Washington, D.C. 20530

Attorney for all “Federal Defendants”:

(1) United States House of Representatives

(2) Individual Members of the U.S. House of the 115th Congress

(3) Honorable Paul Ryan, U.S. Representative of Wisconsin

(4) Honorable David S. Ferriero, Archivist of the United States

(5) Honorable Wilbur Ross, U.S. Secretary of Commerce

(6) Honorable Donald J. Trump, President of the United States

(7) Honorable Karen L. Hass, Clerk of the U.S. House of Representatives

Attorney for all “Federal Interested Parties”:

(257) Michael Pence, Vice President of the United States and
President of the United States Senate

(258) United States Senate

(259) Individual Members of the U.S. Senate of the 115th Congress

Via Regular U.S. Mail and electronically through PACER® once
“Filed” by the District Court Clerk:

Brian Vernon Church

Clay R. Smith

Deputy Attorneys General

Idaho State Attorney General’s Ofiice

954 West Jefferson Street - 2d Floor

P.O. Box 83720

Boise, Idaho 83720-0010

Attorney for State Defendants:

(73) C.L. “Butch” Otter, Governor of Idaho

(74) Lawrence Wasden, Idaho Attorney General

(75) Lawrence Denney, ldaho Secretary of State

(76) Idaho State Senate (35 State Senators)

(77) Idaho State House of Representatives (70 State Representatives)

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Via Regular U.S. Mail and electronically through PACER® once

“Filed” by the District Court Clerk:

Jeffrey T. Even

Deputy Solicitor General

Washington State Attorney General’s Office

P.O. Box 4010

Olympia, Washington 98504-0100

Attorney for State Defendants:

(237) Honorable J ay Inslee, Governor of Washington

(238) Honorable Bob Ferguson, Washington State Attorney General

(239) Honorable Kim Wyman, Washington Secretary of State

(240) Washington State Senate (49 Senators)

(241) Washington State House of Representatives (98 State
Representatives)

NOTE: All other Defendants and Interested Parties who have been served and
Who have entered an appearance shall be served electronically through
PACER® once the Notice of Appeal is “Filed” by the District Court Clerk
on the Docket:

5. Additionally, pursuant to United States Supreme Court Rule 29(4), as the
United States and both the United States Department of Commerce and the
United States National Archives and Records Administration are parties that
are required to be separately served again, in addition to the mail and
electronic service on their counsel below Johnny Walker, Assistant United
States Attorney below, l have also this day served a copy of the Notice oprpeal

and this Proof of Service upon the following as reflected:

Case 1:17-cV-OO793-CKK-CP-RDI\/| Document 126 Filed 06/11/18 Page 9 of 9

Via Regular U.S. Mail:

Solicitor General of the United States
Room 561

Department of Justice

950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530-0001

Via Regular U.S. Mail:
Wilbur Ross, Secretary

U.S. Department of Commerce
1401 Constitution Avenue, NW
Washington, D.C. 20230

Via Regular U.S. Mail:

David S. Ferriero, Archivist of the United States
National Archives and Records Administration
700 Pennsylvania Avenue NW

Washington, D.C. 20408

I DECLARE UNDER THE PENALTY OF PERJURY THAT THE FOREGOING
IS TRUE AND CORRECT.

EXECUTED THIS 11TH DAY OF JUNE 2018.

 

 

Telep 0 e: (732) 515-8229
Emai emlesqni@hotmail.com
Plaintiff Pro Se

Dated: June 11, 2018

